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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                     CASE NO.: 22-81576-CIV-CANNON/Reinhart
                               22-62373-CIV-CANNON
                               22-81977-CIV-CANNON


   VPR BRANDS, LP,

               Plaintiff,

   v.

   SHENZHEN WEIBOLI TECHNOLOGY CO.
   LTD., et al.,

               Defendants.


   VPR BRANDS, LP,

               Plaintiff,

   v.

   IMIRACLE HK LIMITED and HEAVEN
   GIFTS INTERNATIONAL LIMITED,

               Defendants.

   VPR BRANDS, LP,

               Plaintiff,

   v.

   SHENZHEN IMIRACLE TECHNOLOGY
   CO., LTD., YLSN DISTRIBUTION LLC,
   ECTO WORLD LLC, SAFA GOODS, LLC
   D&A DISTRIBUTION LLC, UNISHOW
   (U.S.A.), INC., SV3 LLC, and KINGDOM
   VAPOR INC.,

               Defendants.
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                             DEFENDANTS’ NOTICE AND REPORT

         Defendants in the consolidated actions captioned above, by and through their undersigned

  counsel, hereby provide the court with their notice and report in response to Plaintiff VPR Brands,

  LP’s Notice and Report (ECF 189), as ordered by the Court (ECF 188).

                 1.      INTRODUCTION

         As Plaintiff correctly notes in its Notice and Report (ECF 189), on August 21, 2024, the

  U.S. Court of Appeals for the Federal Circuit vacated this court’s decision granting plaintiff’s

  motion for preliminary injunction, and remanded this action “to reconsider Weiboli’s unlawful-

  use defense in a manner consistent with our decision and reevaluate VPR’s motion for a prelimi-

  nary injunction.” Defendants, however, respectfully disagree with Plaintiff’s roadmap on how to

  proceed, as Plaintiff’s approach neglects to adequately “take into account the various issues/mo-

  tions implicated in all three cases.”

         While Defendants concur with Plaintiff’s suggestion concerning severing Plaintiff’s patent

  claims, Defendants disagree with Plaintiff’s proposal for “a one day hearing on plaintiff’s motion

  for preliminary injunction,” and with its proposed treatment of Defendants’ prior motions, which

  the Court had dismissed without prejudice. Defendants further disagree with Plaintiff’s recom-

  mendations insofar as they are incomplete. As explained in Defendants’ post-injunction hearing

  filings, the operative facts of this case have changed substantially since Plaintiff’s initial request

  for and the Court’s grant of the preliminary injunction, thereby calling into question other key facts

  upon which the preliminary injunction was based. These issues go well beyond the discrete issue

  of the unlawful use doctrine that was before the Federal Circuit. In view of these changes, De-

  fendants provide the following responses to Plaintiff’s recommendations, followed by an alternate

  plan for proceeding in this case.



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     II.      RESPONSE TO PLAINTIFF’S PROPOSED TERMS

           1. Severing the Patent Infringement Claims

           Defendants agree with Plaintiff severing its patent claims against the non-distributor de-

  fendants in a manner to be recommended by the Court. Defendants believe the most efficient

  method to accomplish this would be via dismissal of the respective patent claims without prejudice,

  with leave to re-file against the relevant defendants.

           2. One-Day Hearing on Unlawful Use Doctrine

           Defendants disagree with Plaintiff’s proposal for a one-day hearing “on Plaintiff’s Motion

  for Preliminary Injunction” with expert testimony on the issue of the unlawful use doctrine. De-

  fendants object to this proposal for the following reasons.

           First, Plaintiff’s proposal is unclear why further fact or expert testimony is warranted or

  necessary for the Court’s evaluation and application of the unlawful use doctrine. Without a better

  understanding of the nature of the testimony Plaintiff seeks to elicit on the issue, Defendants do

  not believe Plaintiff’s proposal is an effective path forward.

           Second, while Plaintiff suggests that such testimony is needed as a result of the Supreme

  Court’s recent decision in Loper Bright Enters. V. Raimondo, 114 S.Ct. 2244 (2024), Plaintiff does

  not explain Loper’s applicability to this case considering the Federal Circuit’s remand order. The

  Federal Circuit’s opinion made no mention of Loper, nor did it address expert testimony on the

  subject. It merely instructed the district court, “consistent with this decision, to reconsider all

  pertinent issues and reevaluate VPR’s motion for preliminary injunction.” VPR Brands, LP v.

  Shenzhen Weiboli Tech. Co., 2024 U.S. APP. LEXIS 20450 at *17-18 (Fed. Cir. August 14, 2024).




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             Finally, Plaintiff’s focus on the unlawful use doctrine solely through the lens of its own

  prior preliminary injunction motion unfairly disregards the substantial post-injunction factual de-

  velopments in the consolidated cases that also merit consideration per the Federal Court’s instruc-

  tions to reconsider “all pertinent issues.” Defendants outlined these factual developments, and the

  legal consequences thereof, in pleadings submitted shortly before this Court stayed proceedings,

  including in Defendants’ Motion to Dissolve of Vacate Preliminary Injunction (ECF 144) and

  Defendant/Counterclaim Plaintiff Imiracle (HK) Limited’s Motion for Preliminary Injunction

  (ECF 161), both of which the Court denied without prejudice on May 5, 2023 (ECF 167). These

  legal and factual issues are wholly independent of the unlawful use doctrine, including Plaintiff’s

  ownership of its asserted ELF mark, whether Plaintiff can even establish the foundational issue of

  priority in view of Imiracle’s post-injunction acquisition of senior rights in the ELF mark, and

  post-injunction conduct by Plaintiff and others acting in concert therewith, including a new Coun-

  terclaim Defendant added to the case by Imiracle via its Partial Answer, Affirmative Defenses and

  Counterclaims that it filed on April 26, 2023 (ECF 149). All these developments impact the par-

  ties’ respective likelihood of success on the merits, whether a preliminary injunction is warranted

  in this case, and to which party, notwithstanding how the Court evaluates the unlawful use doctrine

  issue.

      III.      DEFENDANTS’ PROPOSED POST-REMAND PROCESS

             Defendants respectfully identify the following issues that remain outstanding, along with

      a proposal for addressing each such issue.

                    1. Pleadings Schedule

             To date, the only party to have filed an answer to any of the complaints and counterclaims

  in these three consolidated matters is Defendant/Counterclaim Plaintiff Imiracle HK Limited,




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  which shortly before proceedings were stayed, filed a partial Answer to VPR’s Complaint, as well

  as Counterclaims against VPR and Counterclaim-Defendant Elf Brands LLC. (ECF 140). 1 In

  view of the Court’s denial of the pending Motions to Dismiss, the Parties’ agreement to sever

  VPR’s patent claims from this case, and the addition of one new Counterclaim Defendant that has

  not yet appeared in this case, Defendants propose that the Court establish a new, omnibus pleading

  schedule, as follows:

      •      Plaintiff to file an Amended Omnibus Complaint without patent claims: Due 21 days
             after Court-issued Scheduling Order.
      •      Defendants to file Answers, Counterclaims, Third-Party Claims, or Crossclaims: Due
             21 days after Plaintiff’s Omnibus Amended Complaint.
      •      Answers to Counterclaims, Third-party Claims, or Crossclaims: Due 14 days thereaf-
             ter.
      •      Issues Concerning Applicability of the Unlawful Use Doctrine are DEFERRED until a
             consolidated hearing on the parties’ competing motions for preliminary injunction.


                 2. Injunction Briefing and Hearing

          In view of the substantial factual developments since the Court’s December, 2022 prelim-

  inary injunction hearing, Defendants respectfully request a briefing schedule for Defendant Imir-

  acle to resubmit its Motion for Preliminary Injunction (ECF 161), which the Court previously

  denied without prejudice (ECF 167), 2 to be fully briefed and set for a consolidated evidentiary




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    Prior to consolidation of Case No. 9:22-cv-81977, Imiracle (HK) Limited and Heaven Gifts In-
  ternational Limited had filed a motion to dismiss or, alternatively, for summary judgment (ECF
  26 in Case No. 9:22-cv-81977) in response to VPR’s Complaint. While that Motion to Dismiss
  remains pending, as well as a similar Motion to Dismiss in consolidated Case No. 0:22-cv-
  62373, Defendants presume the Court’s September 30, 2024 Paperless Order denying without
  prejudice Defendants’ Motion to Dismiss and/or for Summary Judgment in the parent case (ECF
  80) was intended to apply to these motions to dismiss from the consolidated cases as well.
  2
    Defendants’ prior Motion to Dissolve or Vacate Preliminary Injunction or in the Alternative, to
  Increase Security was rendered moot by the Federal Circuit’s August 14, 2024, Order, so De-
  fendants do not anticipate renewing that motion at this time.


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  hearing with Plaintiff’s Motion for Preliminary Injunction. The Court may consider issues con-

  cerning the unlawful use doctrine in connection with its assessment of the parties’ respective re-

  quests for preliminary injunctive relief per the Federal Circuit’s remand instructions, along with

  all other “pertinent issues.” Defendants propose that testimony from parties located outside the

  United States may be introduced via videotaped depositions in lieu of live testimony. Defendants

  anticipate such a hearing will last 2-3 days and be limited to evidence and testimony not introduced

  at the prior hearing on Plaintiff’s motion. The parties would then file post-hearing briefs and pro-

  posed findings of fact and conclusions of law 21 days after the hearing. These briefs would take

  into account the testimony and evidence at both this hearing and at the original hearing on Plain-

  tiff’s motion. This consolidated hearing and briefing would allow the Court to efficiently resolve

  the parties’ competing motions for preliminary injunction, and in accordance with the Federal Cir-

  cuit’s Order and direction.

                 3. Bond

         Defendants also expect to file a motion under Fed. R. Civ. P. 65.1 with respect to Plaintiff’s

  $500,000 security bond (ECF 86).

  Dated: October 3, 2024                        Respectfully Submitted,




                                                       /s/ Tucker C. Motta
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                                  CERTIFICATE OF SERVICE

         I certify that on October 3, 2024, I electronically filed the foregoing with the Clerk of the
  Court by using the CM/ECF system which will send a notice of electronic filing to the following:

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